
Affirmed by unpublished per curiam opinion.
Unpublished opinions are not binding precedent in this circuit. See Local Rule 36(c).
PER CURIAM:
Stephen M. Wright appeals from the district court’s orders dismissing his appeal from three bankruptcy court orders for failure to comply with Fed. R. Bankr.P. 8006, and denying his motions for reconsideration. We have reviewed the record and the district court’s orders and find no reversible error and no abuse of discretion. See Fed. R. Bankr.P. 8001(a); In re SPR Corp., 45 F.3d 70, 74 (4th Cir.1995); In re Serra Builders, Inc., 970 F.2d 1309, 1311 (4th Cir.1992). Accordingly, we affirm on the reasoning of the district court. Perry-ville Inv. Group, LLC v. Drescher, Nos. CA-04-1170-CCB; BK-01-59530 (D. Md. Aug. 11, 2004 &amp; June 23, 2004). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED

